 

CaSe 1-¢16-40104-nh| DOC 90 Filed 11/06/17 Entered 11/06/17 16221:37

l\/|ail - kivajamesesquire@hotmail.com

U.S. Banl<ruptcy Court, Eastern District ot i\lew Yorl< - Undeli\/eralole
l\lotit:e, In re; Ai)<a l\/iuir, Case i\lumt)er: l6-40l04, nh|, Ret: [p-114085392]

11/2/2017

USBanl<ruptcy€ourts@noticingcenter.com

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To: kivajamesesquire@hotmail.<:cm <t<ivajamesesquire@hotmail.com> ;

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Notice of Undeliverable l\/lail to Det)ton'Debtor's /-\ttorney ‘l<n G' é§§r£
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November 1, 2017 \ 'U ";.;’<
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` From: Unrted States Bankruptcy Court, Eastern District of New Yorl< m "1>_0%
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Re: U_S. Courts, Bankruptcy Noticing Center - Undeliverable Notice
ln re: Aixa l\/iuir, Case Number 16-40104, nhl

TO THE DEBTOR/DEBTOR’S ATTORNEV:

The attachment could not be mailed to the notice recipient(s) listed below because the United States Postal Service (USPS) has
determined that those addresses in the case mailing list are undeliverable.

Please be advised that dischargeability of a debt may be affected if a creditor fails to receive certain notices You should
determine whether an address should be updated

NOTE: No further notices will be mailed to the notice recipient(s) listed below, if the USPS continues to designate the
address as undeliverable, until the address is updated in accordance with local court policy, which may allow for use of

this form, a separate notice of change of address, and/or an amended schedule. Tl~llS FORl\/l CANNOT BE USED TO
ADD A NEW CREDiTOR NOT PREVIOUSLY l.lSTED ON YOUR SCHEDULES.

lt this form is used by your court in place of filing a separate notice of change ot address and/or an amended schedule: “l)
determine the updated address and send the attachment to each recipient beiow; 2) type or print legibly each updated address
below; 3) sign and date the form; and 4)t"1le this form electronically via CMIECF (for all registered users) or mail the form to:

U.S. Bankruptcy Court
271-0 Cadman Plaza East, Suite 1595
Brool<lyn, NY 11201-1800

 

Undeliverable Address:

Law Ottices of Jordan S Katz
395 N Service Rd., Ste 401
Melville, NY 11747

Reason Undellverable: FORWARD\NG ORDER HAS EXP|RED

THE UPDATED ADDRESS lS:

Lli> li/larcii§®tivc §\illc 10@, ll\alvl\lt ,NY ll%t/+ ~leoe

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11/2/2017 l\/|ail - kivajamesesquire@hotmail.com

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Signature of M§Morney

 

Date

The Bankruptcy Noticing Center does not respond to messages regarding bypass notification. Please contact the U.S.
Bankruptcy Court where the case is pending with questions or comments.

https://outlook.live.com/oWa/?path=/mai|/inbox/rp

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